Case 0:21-cr-60067-AHS Document 1 Entered on FLSD Docket 02/26/2021 Page 1 of 3JA


                                                                                       Feb 25, 2021

                           UNITED STATES DISTRICT COURT
                           SOU TH ER N DISTR IC T O F FLO RIDA
                     21-60067-CR-SINGHAL/SNOW
                          CA SE N O .
                                       18U.S.C.j922(g)(1)
                                       18U.S.C.j924(a)(2)
 U NITED STA TE S O F A M ERIC A

 VS.

 PA U L N ICH O LA S M ILLER ,

         Defendant.
                                            /

                                         IN DICTM EN T

         The Grand Jtuy chargesthat:

         On oraboutJanuary 17,2018,in Broward County,in theSouthern DistrictofFlorida,the

 defendant,

                                PA U L NIC H O LA S M ILLER ,

 knowingly possessed a flrearm in and affecting interstate commerce, knowing that he had

 previously been convicted ofa crim e p lnishable by im prisonm entfora tenn exceeding one year,

 inviolationofTitle18,UnitedStatesCode,Sections922(g)(1)and924(a)(2).



                                                       FOREPER SON


           FA JA RD O OR SHA N
       TED STA TES A TTO RN EY


                 '
           .


 KIFAN N.BHAT
 A SSISTA N T UN ITED STA TES A TTORN EY
     Case 0:21-cr-60067-AHS Document 1 Entered on FLSD Docket 02/26/2021 Page 2 of 3
                                              UNITED STATESDISTRICT COURT                                                             I
                                              SOUTHERN DISTRICTOFFLORIDA                                                              !
UNITED STATES OF AM ERICA

PAUL NICHOLASM H ,
                 LER,                                               C ERTIFICATE O F TRIA L A TTO R NEY.

                                                                    Superseding Caselnform ation:
                          Defendant               /

CourtDivision:(selectOne)                                           New defendantts)               Yes       No
           M iam i             K ey W est                           Numberofnew defendants
 z         FTL                 W PB         FTP                     Totalnum berofcounts

                     1have carefully considered the allegations ofthe indictment,the number ofdefendants,the numberof
                     probablewitnessesand the legalcomplexitiesofthe Indictment/lnformation attachedhereto.
                     Iam aw are thatthe information supplied on this statementwillbe relied upon by the Judges ofthis
                     Coul4 in setting theircalendars and scheduling crim inaltrials underthe mandate of the Speedy Trial
                     Act,Title 28U .S.C.Section 3161.
                     Interpreter:       (YesorNo)              No
                     Listlanguageand/ordialect
                     Thiscasew illtake 3-4 daysforthepal-tiesto try.
                     Please check appropriate category and type ofoffense listedbelow :
                     (Checktlnlyone)                                       (Checkonlyone)

                       0to 5days                      d                    Petty
                       6to 10days                                          M inor                       '
                       11to20 days                                         M isdeln.
                     '
                       2lto'60'days           '           '-               Felony - -              V --- '
                       6ldaysand over
      .-   6.-- -..Hasthis.casepreviously
                                        .vbeen filed-inthisDislrictCourt? - (Yesor-No) .No
            lfyes:Judge                                             CaseN o.
            (Atlach copypfdispositty.
                                    çorder)                    .     .- .                 x
            Hasacomplaintbeenfiledinthismatler?                     (YesorNo)             o
            Ifyes:M agistrate CaseN o.
            Related miscellalzeousnumbers:
            Defendantts)infederalcustodyasof
            Defendantts)instatecustody asof
            Rule 20 from theDistrictof
            lsthisapotentialdeathpenaltycase?(YesorNo)                           No
                     Doesthiscase originatefrom am atterpending in the CentralRegion ofthe U .S.Attorney'sOffice
                     priortoAugust9,2013(M ag.JudgeAlicia0.Valle)?                            Yes             No '?'
                     Doesthiscaseoriginatefrom a lnatterpending in theN orthern Region oftheU .S.Attol-
                                                                                                      ney'sOftice
                     priortoAugust8,2014 (M ag.JudgeShaniekM aynard)?                         Yes             No ?'
                     D oesthiscaseoriginatefrom am atterpending in the CentralRegion oftheU .S.Attonzey'sOffice
                      priortoOctober3,2019(M ag.JudgeJared Strauss)?                              Yes         No z


                                                                                       -'(
                                                                                         . '
                                                                                           m. '    (
                                                                                 . .. .
                                                                           -;   r J.  .'                     ..
                                                                            IQIRAX N.BHAT
                                                                            ASSISTAN T UNITED STATES A TTORN EY
  *penalty Sheetls)atached                                                                                             REV 6/5/2020
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                          UNITED STATES DISTRICT COURT
                          SOUTH ERN DISTRICT OF FLORIDA

                                    PENALTY SHEET
 D efendant's N am e: PA UL N ICH O LA S M ILLER

 CaseNo:                                                                     .



 Count#:1

 Possession ofaFirenrm by aConvicted Felon

 Title18,UnitedStatesCode,Sections922(g)(1)and924(a)(2)                                        !
 *M ax.Penalty:Ten(10)Years'lmplisonment
  *R efers only to possible term of incarceration,doesnotinclude possible fines,restitution,
           specialassessm ents,parole term s,or forfeituresthat m ay be applicable.




                                                                                               $
